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                      Exhibit F
                     Pod Logbook
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                   Case: 1:16-cv-08303 Document #: 213-1 Filed: 10/18/18 Page 4 of 4 PageID #:2859
                                                   ccg-Rbcf irtD5r4MifiNt4v2In 8
LAST NAME    FIRST NAME   STATUS     FILE #       D.O.B           HOUSING             SCHEDULED EVENT         EVENT DATE              EVENT LOCATION
                          DUCT     DC230299    4/23/1998 0:00 FIVE-D-05          Court Date                   7/20/2015 8:00 Del. Cal 72 Skokie Court House
                          DOCT     DC230299    4/23/1998 0:00 FIVE-D-05          Court Date                   7/27/2015 8:00 Del. Cal 72 Skokie Court House
                          RUR      DC229600    7/10/20010:00 THREE-D-10          Court Date                    7/7/2015 8:00 Del. Cal. 55
                          RUR      DC229600    7/10/20010:00 THREE-D-10          Court Date                   7/21/2015 8:00 Del. Cal. 55
                          CrDT     DC229269    4/30/1999 0:00 THREE-K-13         Criminal Court Hearing        7/1/2015 8:00 Room 301(26th)
                          DOCT     DC228046     2/4/1998 0:00 THREE-K-10         Court Date                    7/2/2015 8:00 Del. Cal 58
                          RUR      DC229487    8/18/1999 0:00 THREE-E-10         Court Date                    7/6/2015 9:00 To Be Announced
                          RUR      DC229487    8/18/1999 0:00 THREE-E-10         Transfer to Full Service     7/7/2015 11:00 NULL
                          COMM     DC225220    3/19/1998 0:00 THREE-K-12         Transfer to Full Service    7/10/2015 11:00 NULL
                          Juv      DC229832    4/13/1997 0:00 THREE-D-5          Transfer to Full Service    7/11/2015 11:00 NULL
                          RUR      DC228781    11/8/1997 0:00 FOUR-C-8           Court Date                   7/14/2015 8:00 Del. Cal. 56
      T.S.                CrDT     DC229269    4/30/1999 0:00 THREE-K-13         Criminal Court Hearing       7/14/2015 8:00LRoom 301(26th)
                          DOCT     DC228046     2/4/1998 0:00 THREE-K-10         Court Date                   7/16/2015 8:00 Del. Cal 58
                          COMM     DC225220    3/19/1998 0:00 THREE-K-12         Court Date                   7/20/2015 9:00 Del. Cal 57
                          DOCT     DC228046     2/4/1998 0:00 THREE-K-10         Scheduled Release            7/21/2015 8:00 Rel to III Dept of C
                          CrDT     DC229269    4/30/1999 0:00 THREE-K-13         Criminal Court Hearing       7/23/2015 8:00 Room 301(26th)
                          RUR      DC228781    11/8/1997 0:00 FOUR-C-8           Court Date                   7/28/2015 8:00 Del. Cal. 56
                          RUR      DC229487    8/18/1999 0:00 THREE-E-10         Court Date                   7/30/2015 8:00 Del. Cal 68
                          DOCT     DC227670   11/28/1997 0:00 FIVE-D-11          Court Date                    7/1/2015 8:00 Del. Cal. 53
                          DUCT     DC227670   11/28/1997 0:00 FIVE-D-11          Court Date                    7/8/2015 8:00 Del. Cal. 53
                          DOCT     DC227670   11/28/1997 0:00 FIVE-D-11          Court Date                   7/15/2015 8:00 Del. Cal. 53
                          DOCT     DC227670   11/28/1997 0:00 FIVE-D-11          Scheduled Release            7/16/2015 8:00 Rel to III Dept of C
                          Juv      DC229411    2/19/2000 0:00 THREE-K-12         Transfer to Full Service    7/11/2015 11:00 NULL
                          Juv      DC229411    2/19/2000 0:00 THREE-K-12         Court Date                   7/17/2015 9:00 Del. Cal 76 Markham
                          RUR      DC228070    4/10/1998 0:00 FOUR-B-4           Rel on Request Court Date     7/2/2015 8:00 Del. Cal. 53
                          RUR      DC228070    4/10/1998 0:00 FOUR-B-4           Rel on Request Court Date     7/9/2015 8:00 Del. Cal. 53
                          RUR      DC228070    4/10/1998 0:00 FOUR-B-4           Court Date                   7/10/2015 8:00 Del. Cal. 53
                          RUR      DC228070    4/10/1998 0:00 FOUR-B-4           Rel on Request Court Date    7/16/2015 8:00 Del. Cal. 53
                          RUR      DC228070    4/10/1998 0:00 FOUR-B-4           Rel on Request Court Date    7/23/2015 8:00 Del. Cal. 53
                          RUR      DC228070    4/10/1998 0:00 FOUR-B-4           Rel on Request Court Date    7/30/2015 8:00 Del. Cal. 53
                          DOCT     DC227297     3/9/1998 0:00 FOUR-E-8           Transfer to Full Service     7/6/2015 11:00 NULL
                          DOCT     DC227297     3/9/1998 0:00 FOUR-E-8           Transfer to Full Service    7/11/2015 11:00 NULL
                          Juv      DC230475     1/5/1999 0:00 THREE-F-8          Pickup Resident              7/13/2015 9:00 Rel to Out of Town A
                          Juv      DC230475     1/5/1999 0:00 THREE-F-8          Pickup Resident              7/15/2015 9:00 Rel to Out of Town A
                          RUR      DC226457    6/19/1998 0:00 THREE-Medical-12   Medical Appointment -        7/8/2015 13:00 John Stroger Hospital
                          RUR      DC226457    6/19/1998 0:00 THREE-Medical-12   Transfer to Full Service    7/18/2015 11:00 NULL
                          RUR      DC226457    6/19/1998 0:00 THREE-Medical-12   Court Date                   7/22/2015 8:00 Del. Cal 76 Markham
                          RUR      DC226457    6/19/1998 0:00 THREE-Medical-12   Rel on Request Court Date    7/29/2015 8:00 Del. Cal 76 Markham
                          RUR      DC230444    5/16/2002 0:00 FOUR-K-10          Court Date                     7/6/2015 9:00 To Be Announced
                          RUR      DC230444    5/16/2002 0:00 FOUR-K-10          Transfer to Full Service     7/7/2015 11:00 NULL
                          CrJu     DC229949    10/4/1997 0:00 FOUR-F-7           Criminal Court Hearing         7/1/2015 8:00 Room 400(26th)



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